Case 5:23-cv-00544-R Document 1-7

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USPS Tracking

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Tracking Number:

7020245000006 7424250

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Latest Update

Your item was delivered to an individual at the address at 12:03 pm on January 9, 2023 in GRAND

PRAIRIE, TX 75051.

Filed 06/20/23

Page 1 of 2

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Delivered
Delivered, Left with Individual

GRAND PRAIRIE, TX 75051
January 9, 2023, 12:03 pm

Departed USPS Regional Facility

COPPELL TX DISTRIBUTION CENTER
January 9, 2023, 1:18 am

In Transit to Next Facility
January 8, 2023

Arrived at USPS Regional Facility

COPPELL TX DISTRIBUTION CENTER
January 7, 2023, 5:42 pm

Departed USPS Regional Facility

PHOENIX AZ DISTRIBUTION CENTER
Januarv 5. 2023. 10:39 om
iii GEE 2:23 cv 00544-R Document 1-7 Filed 06/20/23 Page 2 of 2

[
® Arrived at USPS Regional Facility

PHOENIX AZ DISTRIBUTION CENTER
January 5, 2023, 9:44 pm

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FAQs

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